      Case 2:20-cv-06587-SB-ADS Document 57-1 Filed 12/21/20 Page 1 of 1 Page ID #:449
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Defs Eduardo Martinez and Lend Tech Loans
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Erica Reiners, individually and on behalf of all                              CASE NUMBER:

others similarly situated                                                                       2:20-cv-06587-SB-ADS
                                                              Plaintiff(s),
                                     v.
Chou Team Realty; LLC d/b/a MonsterLoans, a
                                                                                             CERTIFICATION AND NOTICE
California limited liability company, et al.
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                Lend Tech Loans, Inc.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                 CONNECTION / INTEREST
Eduardo Martinez                                                              Defendant




         December 21, 2020
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           David C. Holt, Esq., Attorney for Eduard Martinez and Lend


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
